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VIA ECF

Honorable John G. Koeltl
United States District Judge
500 Pearl St.
New York, NY 10007

Re:      Leadenhall Capital Partners LP, et ano. v. Wander, et al.
         24 Civ. 3453 (JGK)

Dear Judge Koeltl:

       We represent 777 Partners LLC, 600 Partners LLC (together, “HoldCos”), SPLCSS III
LLC, Dorchester Receivables II LLC, Insurers Agency Services LLC, Signal SML 4 LLC,
SuttonPark Capital LLC, Signal Medical Receivables LLC, Insurety Capital LLC, SuttonPark
Servicing LLC, Signal Servicing LLC, and Insurety Servicing LLC (collectively, the “777
Defendants”) in the above-entitled action.

         We write to respectfully request the sealing of the 777 Defendants’ opposition papers
(the “Opposition”) to the motion by Plaintiffs Leadenhall Capital Partners LLP, Leadenhall
Life Insurance and Linked Investments Fund PLC (collectively, “Plaintiffs”) for the
appointment of a receiver or, alternatively, a preliminary injunction, that the 777 Defendants
will file today.

        The papers include 777 Defendants’ memorandum of law in support of its Opposition,
declarations of various professionals on behalf of B. Riley Advisory Services, and declarations
of John G. McCarthy and general counsel on behalf of the HoldCos. The majority of the content
includes intimate details about the 777 Defendants’ confidential finances and business
relationships, confidential information about non-parties and their business relationships, and
confidential and detailed information about ongoing restructuring. All of this information could
seek to provide an economic advantage to the 777 Defendants’ competitors and could impair its
relationship with its non-party business relationships by disclosing confidential details about the
relationship.
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        Good cause exists to seal the Opposition in its entirety. Sealing is warranted under
Second Circuit law. Notwithstanding the presumption of public access, courts may deny access
to records that are “sufficiently valuable and secret to afford an actual or potential economic
advantage over others.” In re Parmalat Sec. Litig., 258 F.R.D. 236, 245 (SDNY 2009). Sealing
is warranted where “[r]eputations would be impaired, personal relationships ruined, and
businesses destroyed on the basis of misleading or downright false information.” United States
v. Amodeo, 71 F.3d 1044, 1048–49 (2d Cir. 1995). See Pro. Sound Servs., Inc. v. Guzzi, No. 02
CIV. 8428 (DC), 2003 WL 22097500, at *1 (S.D.N.Y. Sept. 10, 2003), aff’d, 159 F. App’x 270
(2d Cir. 2005) (complaint filed under seal to keep customer names confidential); see also
Leonard as Tr. of Poplawski 2008 Ins. Tr. v. John Hancock Life Ins. Co. of New York, No. 18-
CV-4994-AKH, 2020 WL 1547486, at *1-*2 (S.D.N.Y. Mar. 31, 2020) (granting motion to seal
where document quotes or paraphrases information protected from disclosure by law).

        The Plaintiffs have asked for an opportunity to meet and confer on the details of this
letter-motion before consenting and the remainining defendants have consented.

      For the foregoing reasons, the 777 Defendants respectfully request that the Court seal its
Opposition.



                                              Respectfully yours,

                                              /s/John G. McCarthy
                                              John G. McCarthy

cc:    Attorneys of Record (via ECF)
